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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                 amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Enjoy S.A.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             96.970.380-7
                                                        Other ___________________________.                      &KLOHDQWD[SD\HU,'QXPEHU
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Rodrigo C. Larrain and Esteban Rigo-Righi
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Reorganization Proceeding pending before the 8° Civil Court in Santiago, Chile
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           ✔
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  Resolutions of Enjoy S.A. appointing the foreign representatives and
                                                  _______________________________________________________________________________________
                                                  certificate from the court appointed Overseer approving such appointment
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
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Debtor          Enjoy  S.A.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Chile
                                        ______________________________________________                   Av. Presidente Riesco 5711, 15th Floor
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Santiago                           7        56114
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region   ZIP/Postal Code


                                                                                                         Chile
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 Av. Presidente Riesco 5711, 15th Floor
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Santiago                           7        56114
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region   ZIP/Postal Code


                                         _______________________________________________                 Chile
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              enjoy.cl
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor            Enlov S.A.                                                                    Case number rrmmrr
                  Name




12.   Why is venue proper in fhis     Check one:
      districtl                       d     oeUtofs principal place of business or principal assets in the Uniled States are in this district.
                                      E     Demor does not ha\re d place of bu$lness or assets in the Unitod States, but the following
                                            action or proceeding in a federal or state court is pending against the debtor in this district


                                      I     lf neither box is checked, venue is consistent with the interests ofiustice and the convenience
                                            of the parties, having regard to the relief sought by the foreign representative, because:




rc. Signature of foreign
                                      I request relief in accordance with chapter 15 of title          1 1   , United States Code.
      representative{s)
                                      I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                      relief sought in this petition, and I am authorized to file this petition.

                                     I have examined the information in this petition and have a reasonable belief that the
                                     information is true and correct.

                                      I declare under penalty of per1ury         that the foregoing is true and correct,


                                      ,C                                                                Rodriqo C. Larrain
                                           Signature of foreign representative                          Printed name


                                     Executed on
                                                            MM /DD/ YYYY


                                      x                                                                 Esteban Rigo-Righi
                                           Signature of foreign representative                          Printed name


                                     Executed on
                                                            MM /DDI YYYY



r+. Signature of attomey              ,C                                                                Date          ob/ALbdo
                                                       of Aftorney for foreign representative                         MM /DDIYYYY

                                          Keith R.     Martorana                                                                                    .   _   .
                                           Printed nem6

                                          Gibson. Dunn & Crutcher LLP
                                           Firm name
                                          200 Park Avenue
                                           Number         StIe€[
                                          New York                                                           NY           1   0165
                                           City                                                               state           zlP code


                                           (212) 351-4000                                                     kmartorana@ gibsondunn.com
                                           Contac't phone                                                     Email address




                                           4576971
                                                                                                              State




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                                            Item 6

                   Certified Copy of Decision Commencing Foreign Proceeding
                        (the “Enjoy Stay Order”) and English Translation
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                DIVERGENT
                LANGUAGE SOLUTIONS




STATE OF NEW YORK



COUNTY OF NEW YORK                                        ss




                                                  CERTIFICATION


This is to certify that the attached translation is to the best of my knowledge and belief a true and accurate

translation from Spanish into English of the attached Reorganization Order issued by Head Judge Sylvia Papa

Beletti, and dated May 5, 2020.




                                                                           Divergent Language Solutions, LLC




State of New York
County of New York
Subscribed to and swom before me this / [        day of                 ,203-0,
by Edward J. Jacob.




          MATTHEW C. ZELAK
    NOTARY PUBLIC, State of New York
            No. 01ZE6350239
      Qualified in New York County
   Commission Expires November 7,2020



              183 Madison Avenue, Suite 416 | New York, NY 10016 | p 917.979.4513 | f 415.525.4313
            600 California Street, 11* Floor | San Francisco, CA 94108 | p 415.400.4538 | f 415.525.4313
                                 divergent@divergentls.com | www.divergentls.com
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  DESCRIPTION               : 1. [805]Reorganization Order
  COURT                     : Santiago Civil Court 8
  CASE DOCKET               : C-6689-2020
  CASE CAPTION              : /ENJOY S.A.


        Santiago, May 5, 2020.


        To official notice via Virtual Judicial Office (OJV) of 4/30/20 (page 8):
        To the record, official notice sent by the Insolvency and Reorganization
  Superintendence.


        HAVING REVIEWED and taking into consideration:
        I.- That Nelson Contador Rosales, identity document No. 6.894.210-1,
  attorney, appears, who is acting pursuant to a power of attorney to act in
  court on behalf of Enjoy S.A., a publicly-held corporation, Tax
  Identification No. 96.970.380-7, represented by Rodrigo Larraín Kaplan,
  identity document No. 10.973.139-0, profession unknown, all domiciled for
  these purposes at Avenida Presidente Riesco N° 5.711, 15th floor, in the
  municipality of Las Condes, requesting to commence insolvency
  reorganization proceedings for the debtor company under Articles 54 et seq. of
  Law 20.720.
        As grounds for his request, he states that Enjoy S.A. is a Publicly-Held
  Corporation engaged in investment, the parent of a holding company engaged
  in entertainment, restaurants, hotels, and gaming casinos, incorporated by
  notarial instrument dated October 23, 2001 and recorded in the Securities
  Registry of the Financial Market Commission (CMF) under No. 1033, dated
  June 9, 2009; and that it is regulated and supervised by such institution.
                                                                                         EZQFPMRWLB




        Following a general description of the company, he states that after an
  expansion and investment plan, the company started on an upward
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  trend in its earnings at the beginning of 2019, reversing successive falls, by
  achieving growth in Adjusted Ebitda of 34% in the third quarter, which was at
  its highest recorded peak in recent years.
        However, this tendency was altered as a result of the social upheaval
  experienced in the country beginning on October 18, 2020, with the tourism,
  hotel, food, and casino industries being most affected. With respect to Enjoy's
  business, this entailed the forced closure of operations over several days,
  followed by intermittent operations and a widespread decrease in customer
  traffic, which was reflected in losses in business earnings over the last quarter
  of 2019, along with the company's worsening financial situation.
        The petitioner states that despite this, the Company, in light of a defined
  strategy to prepare for the business’s high season, achieved a significant
  recovery in Income and Adjusted Ebitda during January and February, 2020,
  with growth of 20% and 28%, respectively, driven primarily by Enjoy Punta
  del Este. He indicates that, in his view, the Company's structural changes were
  appropriate, and that the Company has developed a business model with major
  opportunities for growth and profitability.
        Notwithstanding the above, he explains that the existing complex and
  difficult situation was only exacerbated by the Covid-19 virus pandemic,
  which, as is public knowledge, has resulted in a country-wide constitutional
  state of catastrophe put into place beginning on March 19, 2020. A curfew has
  been imposed from 10:00 pm to 5:00 am, along with a ban on social
  gatherings and a quarantine in several of the country's municipalities to
  prevent the contagion and spread of Covid-19.
        He notes that in Circular Notice No. 5/2020, dated March 16, 2020, the
  Casino Gaming Superintendence ordered the closure of all gaming casinos
  from March 18 to March 29. This period was extended by Circular Notice No.
  13/2020, dated March 25, 2020, until epidemiological conditions allow it to be
                                                                                           EZQFPMRWLB




  lifted, and as the health authorities so determine.
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          He adds that the authorities in other country where Enjoy has
  operations, such as Uruguay (Punta del Este) and Argentina (Mendoza), have
  issued similar rules, thus preventing the company from carrying out its
  business and from generating revenue for an as of yet indefinite period of
  time.
          He notes that the company has established contingency measures aimed
  at protecting the health of Enjoy's workers and customers, and for the
  Company's financial sustainability in the face of this new crisis, implementing
  controls on costs and outflows of cash, halting investments, and renegotiating
  and suspending supply and services contracts, adjusting allowances and, with
  respect to a percentage of employees, recurring to the measures provided for
  under the Employment Protection Law, with the executive team continuing to
  work and making progress on operational, commercial, legal, and financial
  plans via telework.
          He explains that the shareholders and creditors have been informed of
  the situation, but even though this has been well received and understood, it
  has not been possible to reach agreements that would allow the petitioner to
  overcome the financial situation, which in the context of the imposed
  shutdown is worsening week by week.
          He adds that remedial measures have been requested from the Gaming
  Casino Superintendence, along with the other operators, which must still be
  considered. This delay prompted the company to cancel a shareholders’
  meeting for purposes of agreeing on a capital increase, as they do not have the
  appropriate information available with respect to the amount of capital
  needed.
          Based on the above, with the aim of joining forces with creditors to
  bring about a necessary restructuring of liabilities, he is requesting the
  commencement of Judicial Reorganization proceedings, which will allow [the
  company] to structurally resolve its financial situation, and enable it to carry
  out its business plans and future investments.
          II.- The petitioner's type of business is included under the company
                                                                                           EZQFPMRWLB




  classification set forth in Article 2 (13) of Law 20.720, in order to request the
  insolvency reorganization proceedings
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  provided for under Articles 54 et seq. of the Insolvency and Reorganization
  Law.
         III.- In order to formally comply with its request, the Insolvency and
  Reorganization Superintendence provided the certificate of appointment of
  overseers, received in the case record on April 30, 2020, as well as a list of its
  assets as provided for under Article 57 of the Law, in addition to the
  certificate for determination of liabilities specified under such law.
         In view of the above, the merits of the background information
  provided by the debtor in its submission on page 1, and pursuant to
  Article 57 of Law 20.720:
         1.- Patricio Ricardo Jamarne Banduc is appointed as Head Overseer,
  identity document No. 7.511.143-6, domiciled at Avenida Apoquindo 4.775,
  contact telephone number 224481048, email pjamarne@hyj.cl; and Enrique
  Marco Antonio Ortiz D’amico as Alternate Overseer, identity document No.
  11.222.860-8, domiciled at Amunategui Nº 277, office 1.001, in the
  municipality of Santiago, contact telephone number 226980795, email
  enriqueortiz@tie.cl.-
         2.- During a period of 30 business days from the notification of this
  order, the debtor company will have Financial Insolvency Protection,
  whereby:
         a) Insolvency Liquidation Proceedings may not be filed against the
  Debtor, nor may summary collection proceedings, collections of any type, or
  surrenders in lease proceedings be pursued against it. The above will not apply
  to employment proceedings concerning obligations that have first preference,
  in this case staying only the attachment and sale of the Debtor’s property,
  except in the case of employment proceedings of this type that the debtor has
  in such capacity in favor of his spouse, his relatives, or of the managers,
  administrators, attorneys-in-fact with general powers of administration, or
  other persons that may influence the management of his business.
                                                                                            EZQFPMRWLB




         b) The processing of the proceedings indicated in letter a) above, as
  well as the statute of limitations releasing the debtor from any debts, will be
  stayed.
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        c) All contracts signed by the Debtor will remain in force and their
  payment conditions will be maintained. Consequently, they may not be
  unilaterally terminated early, the performance thereof may not be accelerated,
  and the guarantees furnished may not be executed based on the ground that
  Insolvency Reorganization Proceedings were filed. Any claim by a creditor
  that violates this prohibition will be postponed until all of the creditors subject
  to the Judicial Reorganization Agreement, including insider creditors, have
  been paid.
        d) If the Debtor is included in a public registry as a contractor or
  provider of any service, and provided that it is up to date on its contractual
  obligations with the respective principal, it may not be removed or
  disqualified from participating in tender processes, based on the filing of
  Insolvency Reorganization Proceedings.
        3.- During the Financial Insolvency Protection, the Debtor:
        a) Will be subject to monitoring by overseer Patricio Ricardo Jamarne
  Banduc, whose duties are contained in Article 25 of Law 20.720;
        b) Its assets may not be encumbered or transferred or sold, except
  where such transfer or sale is inherent to its business or is strictly necessary
  for the normal course of its business to proceed, and Article 74 will apply with
  respect to other property or assets, and;
        c) Legal entities may not amend their articles of incorporation,
  corporate bylaws, or representation structure.
        4.- The Financial Insolvency Protection expires 30 business days
  following notification of this order.
        5.- The Debtor, through the Overseer, will publish its draft Judicial
  Reorganization Agreement in the Insolvency Bulletin and will provide it to
  this court at least 10 business days prior to the date established for the
  Creditors’ Meeting; otherwise the Overseer will certify this circumstance and
  the Liquidation Order will be issued without further proceedings.
                                                                                             EZQFPMRWLB




        6.- The Creditors’ Meeting must take place at 11:00 am on the thirtieth
  business day following notification of this order for purposes of issuing a
  determination     on    the    draft    Judicial   Reorganization      Agreement
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  submitted by the Debtor. If this falls on a Saturday it will be held on the next
  business day at the specified time.
        7.- Within 15 business days of notification of this order, all creditors
  must provide evidence to the court of their legal capacity to act in the
  Insolvency Reorganization Proceedings, expressly specifying the power
  granted to them by their principals to review, amend, and accept the Judicial
  Reorganization Agreement.
        8.- The overseer must record a copy of this order in the respective Real
  Property Registries in the margin of the property record for each of the real
  properties belonging to the debtor.
        9.- The overseer must provide his report on the draft Judicial
  Reorganization Agreement to the court and publish it in the Insolvency
  Bulletin at least three business days prior to the date established for the
  Creditors' Meeting that will vote on the agreement. This Overseer Report must
  contain a well-reasoned assessment concerning:
        a) Whether the draft may be complied with, given the Debtor's
  conditions;
        b) The likely recovery amount that would apply to each creditor in their
  respective categories in the event of Insolvency Liquidation Proceedings, and
        c) Whether the draft determination of claims and their preference
  indicated by the Debtor is in accordance with the law.
        11.- Within five business days of service of notice of this order, the
  debtor and the three senior creditors indicated in the independent accountant-
  auditor certification referenced under Article 55, which will address the fee
  proposal prepared by the Overseer, must attend a hearing at 11:00 am.
        If this falls on a Saturday it will be held on the next business day at the
  specified time.
        12.- The Debtor must provide the Overseer with a copy of all
                                                                                           EZQFPMRWLB




  background information provided pursuant to Article 56, which will be
  published together with a copy of this order by the Overseer in the Insolvency
  Bulletin within three days of its issuance.
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                 13.- The overseer must provide a written record of the publication in
           the insolvency bulletin on the same day it is carried out.




                 Issued by Sylvia Papa Beletti, Head Judge.




                 In Santiago, on May 5, 2020, service of the foregoing order was
           carried out via the daily list of court decisions.




                                                                                                                          EZQFPMRWLB




                                                                          This document contains an electronic signature and its original
                                                                          may be confirmed at http://verificadoc.pjud.cl or in the record
                                                                          of the case. As of April 5, 2020, the time shown corresponds
                                                                          to the winter season established in Continental Chile. Add one
SYLVIA JOSEFINA PAPA BELETTI                                              hour for the Magallanes and the Chilean Antarctic Regions,
                                                                          and for Insular Chile, Easter Island, and Salas y Gómez
Date: 5/5/2020 13:38:32                                                   islands subtract two hours. For more information go to
                                                                          http://www.horaoficial.cl
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  NOMENCLATURA              : 1. [805]Resolución de Reorganización
  JUZGADO                   : 8º Juzgado Civil de Santiago
  CAUSA ROL                 : C-6689-2020
  CARATULADO                : /ENJOY S.A.


        Santiago, cinco de Mayo de dos mil veinte.


        Al oficio por OJV de 30/04/20 (folio 8):
        A sus autos, oficio que remite la Superintendencia de Insolvencia y
  Reemprendimiento.


        VISTOS y teniendo presente:
        I.- Que comparece Nelson Contador Rosales, cédula de identidad N°
  6.894.210-1, abogado, quien actúa en representación judicial convencional,
  de Enjoy S.A., sociedad anónima abierta, RUT Nº 96.970.380-7,
  representada por Rodrigo Larraín Kaplan, cédula de identidad Nº
  10.973.139-0, se ignora profesión, todos domiciliados para estos efectos en
  avenida Presidente Riesco N° 5.711, piso 15, de la comuna de Las Condes,
  solicitando el inicio de un procedimiento concursal de reorganización de
  empresa deudora en los términos de los artículos 54 y siguientes de la Ley
  20.720.
        Funda su solicitud señalando que Enjoy S.A. es una Sociedad Anónima
  Abierta dedicada a la inversión, matriz de un holding dedicado al
  entretenimiento, restaurantes, hoteles y casinos de juego, constituida mediante
  escritura pública de fecha 23 de octubre de 2001 e inscrita en el Registro de
  Valores, de la Comisión para el Mercado Financiero (CMF) bajo el N° 1033,
  con fecha 9 de junio del año 2009; y que es regulada y supervisada por la
                                                                                         EZQFPMRWLB




  misma institución.
        Previa descripción general de la compañía, señala que luego de un plan
  de expansión y de inversión,        la compañía comenzó con una tendencia
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  favorable en resultados a comienzos de 2019, revirtiendo caídas sucesivas,
  alcanzando un crecimiento en Ebitda Ajustado de un 34% en el tercer
  trimestre, siendo el más alto registrado de los últimos años.
        Pero, la tendencia fue alterada por el estallido social ocurrido en el país
  a partir del 18 de octubre de 2020, siendo la industria del turismo, hotelería,
  gastronomía y de casinos de las grandes afectadas. Esto, a nivel de negocios
  de Enjoy, conllevó al cierre forzado de operaciones durante varios días, y
  luego a una posterior operación intermitente y una baja generalizada en el
  flujo de visitas, lo que se vio reflejado en pérdidas en los resultados del
  negocio durante el último trimestre del año 2019, con un empeoramiento de la
  situación financiera de la compañía.
        Detalla que a pesar de lo anterior, la peticionaria en vista de una
  definida estrategia para enfrentar la temporada alta del negocio, la Compañía
  logró una importante recuperación en los Ingresos y Ebitda Ajustado en los
  meses de Enero y Febrero 2020, con crecimientos de un 20% y 28%
  respectivamente, principalmente impulsados por Enjoy Punta del Este.
  Indicando a su juicio que los cambios estructurales de la Empresa han sido los
  correctos y que la Compañía ha desarrollado un modelo de negocio con
  grandes oportunidades de crecimiento y rentabilidad.
        Sin perjuicio de lo anterior expone que la compleja y difícil situación
  existente sólo vino a agravarse con la pandemia del virus Covid-19, que como
  es de público conocimiento, ha llevado a que, desde el 19 de marzo 2020 y en
  todo el territorio de nuestro país, se ha hecho vigente un estado de excepción
  constitucional de catástrofe; se ha establecido un toque de queda entre las
  22:00 y las 05:00 horas; la prohibición de reuniones sociales, y cuarentena en
  diversas comunas del país, para evitar el contagio y propagación del Covid-19.
        Detalla que mediante Oficio circular Nº 5/2020, de fecha 16 de marzo
  de 2020, la Superintendencia de Casinos de Juego instruyó el cierre de los
  casinos de juego a partir del 18 de marzo y hasta el día 29 de marzo. Este
  plazo fue prorrogado por Oficio Circular Nº 13/2020, de fecha 25 de marzo de
                                                                                           EZQFPMRWLB




  2020, hasta que las condiciones epidemiológicas permitan su supresión y las
  autoridades sanitarias así lo determinen.
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        Agrega que las autoridades de otros países en que Enjoy tiene
  operaciones, como Uruguay (Punta del Este) y Argentina (Mendoza), han
  dictado normas similares, manteniendo a la compañía imposibilitada de
  desarrollar su negocio y generar ingresos por tiempo aún indeterminado.
        Señala que la empresa ha establecido medidas de contingencia destinada
  a proteger la salud de los trabajadores de Enjoy y de sus clientes, y en la
  sustentabilidad financiera de la Compañía frente a esta nueva crisis,
  implementando control de gastos y egresos de caja, paralizando inversiones y
  renegociando y suspendiendo contratos de suministros y servicios, ajustando
  dotaciones y acogiéndose respecto a un porcentaje de los empleados a las
  medidas provistas por la Ley de Protección al Empleo, continuando el equipo
  ejecutivo trabajando y avanzando en planes de operación, comerciales, legales
  y financieros mediante teletrabajo.
        Expone que la situación ha sido informada a los accionistas y
  acreedores, pero aun cuando existe buena recepción y entendimiento no ha
  sido posible alcanzar acuerdos que le permitan a la peticionaria superar la
  coyuntura financiera, que en un contexto de cierre decretado se agrava semana
  a semana.
        Agrega que se ha solicitado medidas paliativas a la Superintendencia de
  Casinos de Juego, junto con los demás operadores, estas aún deben ser
  deliberadas, demora que llevó a la compañía a suspender una junta de
  accionistas a fin de acordar un aumento de capital, al no contar con las
  condiciones de que aquellos cuenten con la debida información respecto del
  monto de capital que se necesita.
        Por lo anterior es que a fin de aunar las voluntades de los acreedores
  para lograr una necesaria reestructuración de los pasivos, solicita el inicio del
  procedimiento de Reorganización Judicial, lo que le permitirá resolver
  estructuralmente su situación financiera, y viabilizar el desarrollo de sus
  planes de negocios e inversiones a futuro.
        II.- Que el giro de la persona solicitante se encuentra comprendida en
                                                                                           EZQFPMRWLB




  la clasificación de empresa establecida en el artículo 2° número 13 de la Ley
  20.720, para poder solicitar el procedimiento concursal de reorganización
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  establecida en los artículos 54 y siguientes de la misma Ley de Insolvencia y
  Reemprendimiento.
        III.- Que para dar cumplimiento formal a su solicitud la
  Superintendencia de Insolvencia y Reemprendimiento acompañó el certificado
  de nominación de veedores, recepcionado en autos con fecha 30 de abril de
  2020, así como una relación de sus bienes establecida en el artículo 57 de la
  Ley, como asimismo, el certificado para la determinación del pasivo señalado
  en la misma norma legal.
        Que así las cosas el mérito de los antecedentes acompañados por el
  deudor en su presentación del folio 1 y en cumplimiento a lo dispuesto en
  el artículo 57 de la ley 20.720:
        1.- Se designa Veedor Titular a Patricio Ricardo Jamarne Banduc,
  cédula de identidad Nº 7.511.143-6, domiciliado en avenida Apoquindo 4.775.
  , teléfono de contacto 224481048, correo electrónico pjamarne@hyj.cl; y
  como Veedor Suplente a Enrique Marco Antonio Ortiz D’amico, cédula de
  identidad Nº 11.222.860-8, domiciliado en Amunategui Nº 277, oficina 1.001,
  de la comuna de Santiago, teléfono de contacto 226980795, correo electrónico
  enriqueortiz@tie.cl.-
        2.- Que durante el plazo de treinta días hábiles contados desde la
  notificación de esta resolución, la empresa deudora gozará de una Protección
  Financiera Concursal en virtud de la cual:
        a) No podrá declararse ni iniciarse en contra de la empresa deudora un
  Procedimiento Concursal de Liquidación, ni podrán iniciarse en su contra
  juicios ejecutivos, ejecuciones de cualquier clase o restituciones en juicios de
  arrendamiento. Lo anterior no se aplicará a los juicios laborales sobre
  obligaciones que gocen de preferencia de primera clase, suspendiéndose en
  este caso sólo la ejecución y realización de bienes del Deudor, salvo que se
  trate de juicios laborales de este tipo que el deudor tuviere en tal carácter a
  favor de su cónyuge, de sus parientes, o de los gerentes, administradores,
  apoderados con poder general de administración u otras personas que tengan
                                                                                          EZQFPMRWLB




  injerencia en la administración de sus negocios.
        b) Se suspenderá la tramitación de los procedimientos señalados en la
  letra a) precedente y los plazos de prescripción extintiva.
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        c) Todos los contratos suscritos por el Deudor mantendrán su vigencia y
  condiciones de pago. En consecuencia, no podrán terminarse anticipadamente
  en forma unilateral, exigirse anticipadamente su cumplimiento o hacerse
  efectivas las garantías contratadas, invocando como causal el inicio de un
  Procedimiento Concursal de Reorganización. El crédito del acreedor que
  contraviniere esta prohibición quedará pospuesto hasta que se pague a la
  totalidad de los acreedores a quienes les afectare el acuerdo de Reorganización
  Judicial, incluidos los acreedores, personas relacionadas del deudor.
        d) Si el Deudor formare parte de algún registro público como contratista
  o prestador de cualquier servicio, y siempre que se encuentre al día en sus
  obligaciones contractuales con el respectivo mandante, no podrá ser eliminado
  ni se le privará de participar en procesos de licitación, fundado en el inicio de
  un Procedimiento Concursal de Reorganización.
        3.- Que durante la Protección Financiera Concursal el Deudor:
        a) Quedará sujeto a la intervención del veedor            Patricio Ricardo
  Jamarne Banduc, el que tendrá los deberes contenidos en el artículo 25 de la
  Ley 20.720;
        b) No podrá gravar o enajenar sus bienes, salvo aquellos cuya
  enajenación o venta sea propia de su giro o que resulten estrictamente
  necesarios para el normal desenvolvimiento de su actividad; y respecto de los
  demás bienes o activos, se estará a lo previsto en el artículo 74, y;
        c) Tratándose de personas jurídicas, éstas no podrán modificar sus
  pactos, estatutos sociales o régimen de poderes.
        4.- La Protección Financiera Concursal expira a los treinta días hábiles
  de notificada la presente resolución.
        5.- El Deudor a través del Veedor publicará en el Boletín Concursal y
  acompañará a este tribunal, a lo menos diez días hábiles antes de la fecha
  fijada para la Junta de Acreedores, su propuesta de Acuerdo de
  Reorganización Judicial, de lo contrario,          el   Veedor certificará esta
  circunstancia y se dictará la Resolución de Liquidación, sin más trámite.
                                                                                           EZQFPMRWLB




        6.- La Junta de Acreedores deberá efectuarse a las 11:00 horas del
  trigésimo día hábil de notificada la presente resolución a efectos de
  pronunciarse sobre la propuesta de acuerdo de Reorganización Judicial que
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  presente el Deudor; de recaer en día sábado ésta se celebrará al día siguiente
  hábil a la hora señalada.
        7.- Que dentro de quince días hábiles contados desde la notificación de
  esta resolución, todos los acreedores deberán acreditar ante el tribunal su
  personería para actuar en el Procedimiento Concursal de Reorganización, con
  indicación expresa de la facultad que le confieren a sus apoderados para
  conocer, modificar y adoptar el Acuerdo de Reorganización Judicial.
        8.- El veedor deberá inscribir copia de esta resolución en los
  Conservadores de Bienes Raíces correspondientes al margen de la inscripción
  de propiedad de cada uno de los inmuebles que pertenecen al deudor.
        9.- El veedor deberá acompañar al tribunal y publicar en el Boletín
  Concursal su informe sobre la propuesta de Acuerdo de Reorganización
  Judicial, a lo menos tres días hábiles antes de la fecha fijada para la
  celebración de la Junta de Acreedores que votará dicho acuerdo. Este Informe
  del Veedor deberá contener la calificación fundada acerca de:
        a) Si la propuesta es susceptible de ser cumplida, habida consideración
  de las condiciones del Deudor;
        b) El monto probable de recuperación que le correspondería a cada
  acreedor en sus respectivas categorías, en caso de un Procedimiento Concursal
  de Liquidación, y
        c) Si la propuesta de determinación de los créditos y su preferencia
  indicada por el Deudor se ajustan a la ley.
        11.- Que dentro de quinto día hábil de efectuada la notificación de esta
  resolución, deberán asistir a una audiencia, a las 11:00 horas, el deudor y los
  tres mayores acreedores indicados en la certificación del contador auditor
  independiente referida en el artículo 55, la que versará sobre la proposición de
  honorarios que formule el Veedor.
        De recaer en día sábado ésta se celebrará al día siguiente hábil a la hora
  señalada.
        12.- El Deudor debe proporcionar al Veedor copia de todos los
                                                                                          EZQFPMRWLB




  antecedentes acompañados conforme al artículo 56, los que serán publicados
  junto a copia de esta resolución, por el Veedor en el Boletín Concursal dentro
  del plazo de tres días contado desde su dictación.
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        13.- El veedor deberá dejar constancia por escrito de la publicación en
  el boletín concursal, el mismo día en que ésta se practique.




        Dictado por doña Sylvia Papa Beletti, Juez Titular.




        En Santiago, a cinco de Mayo de dos mil veinte, se notificó por el
  estado diario, la resolución precedente.




                                                                                                                  EZQFPMRWLB




                                                                 Este documento tiene firma electrónica y su original puede ser
                                                                 validado en http://verificadoc.pjud.cl o en la tramitación de la
                                                                 causa.
                                                                 A contar del 05 de abril de 2020, la hora visualizada
                                                                 corresponde al horario de invierno establecido en Chile
                                                                 Continental. Para la Región de Magallanes y la Antártica
                                                                 Chilena sumar una hora, mientras que para Chile Insular
                                                                 Occidental, Isla de Pascua e Isla Salas y Gómez restar dos
                                                                 horas. Para más información consulte http://www.horaoficial.cl
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                                           Item 6A

            Resolutions of the Board of Directors of Enjoy S.A. Appointing Foreign
                       Representatives and English Translation
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STATE OF NEW YORK



COUNTY OF NEW YORK                                        ss




                                                  CERTIFICATION


This is to certify that the attached translation is to the best of my knowledge and belief a true and accurate

translation from Spanish into English of the attached Minutes of the Special Meeting of the Board of Directors of

“Enjoy S.A.,” dated May 22, 2020.




                                                                           Divergent Language Solutions, LLC




State of New York
County of New York
Subscribed to and swom before me this     (1*^   day of                , 202&,
by Edward J. Jacob.




Notary Public


           MATTHEW C. ZELAK
     NOTARY PUBLIC, State of New York
             No. 01ZE6350239
       QuaHfied in New York County
    Commission Expires November 7,2020




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           600 California Street, 11* Floor | San Francisco, CA 94108 | p 415.400.4538 | f 415.525.4313
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                                         MINUTES

        SPECIAL MEETING OF THE BOARD OF DIRECTORS OF “ENJOY S.A.”


         In Santiago, on May 22, 2020, at 6:30 p.m., the Special Meeting of the Board of
  Directors of “Enjoy S.A.” (the “Company”) was held, attended by Board members Javier
  Martínez Seguí, Pier-Paolo Zaccarelli Fasce, Nicolás Bañados Lyon, Lucas Marulanda
  López, Ugo Posada Zabala, Mauricio Salgar Hurtado, Ana María Orellana Johnson,
  Fernando Rioseco Zorn, and Ignacio Pérez Alarcón. The company’s CEO, Rodrigo Larraín
  Kaplan, and Chief Financial Officer, Esteban Rigo-Righi Baillie, also attended as special
  guests. Javier Martínez Seguí chaired the meeting. Daniela Bawlitza Vásquez, the
  company’s attorney, acted as Secretary.


  I.         RECORD OF REMOTE ATTENDANCE:

         In accordance with Article 47 of Law No. 18.046 on Corporations and Financial
  Market Commission Circular No. 1.530 dated March 9, 2001, it is stated for the record that
  Board members Javier Martínez Seguí, Pier-Paolo Zaccarelli Fasce, Nicolás Bañados Lyon,
  Lucas Marulanda López, Ugo Posada Zabala, Mauricio Salgar Hurtado, Ana María
  Orellana Johnson, Fernando Rioseco Zorn, and Ignacio Pérez Alarcón are attending this
  meeting via video conference transmission, and will thereby remain continuously and
  simultaneously in communication with one another.

          The Board of Directors states for the record that those present unanimously approve
  attendance at this meeting via video conference for Board members Javier Martínez Seguí,
  Pier-Paolo Zaccarelli Fasce, Nicolás Bañados Lyon, Lucas Marulanda López, Ugo Posada
  Zabala, Mauricio Salgar Hurtado, Ana María Orellana Johnson, Fernando Rioseco Zorn,
  and Ignacio Pérez Alarcón, given that this will allow, as stated above, for continuous and
  simultaneous communication of all attendees. It is also stated for the record that the
  Chairman of the Board of Directors must certify the attendance of the Board members
  listed above via the aforementioned technology medium, and the Secretary of the Board of
  Directors must also take part in said certification.

         They also note that both the CEO and the Board’s Secretary are present via video
  conference.


  II.        QUORUM TO HOLD MEETING AND AGENDA:

          The Chairman states that, given the attendance of the above-named Board members,
  there is sufficient quorum to hold the meeting and to adopt resolutions pursuant to the
  bylaws, whereby he calls the meeting to order. He also states that the requirements under
  law and the bylaws for notice have been met for purposes of holding this meeting.


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         The Chairman submits this meeting’s agenda to the Board for its consideration,
  which is approved without modifications.

  III.       APPOINTMENT OF CHAIRMAN AND SECRETARY

         Board member Javier Martínez Seguí takes the floor, stating that because this is the
  company’s first Board meeting held after the full replacement of the Board of Directors,
  pursuant to resolution of the Annual Shareholders’ Meeting held on April 24, 2020, the
  Board must elect the Chairman from among its members. In this regard, the Board
  proposed to appoint Javier Martínez Seguí as Chairman of Enjoy S.A.

         RESOLUTION: Following a brief discussion, the Board unanimously resolved to
  appoint Javier Martínez Seguí as the new Chairman of the Board of Directors of Enjoy S.A.

        Javier Martínez Seguí expresses thanks for the trust placed in him and immediately
  assumes the position of Chairman, proceeding to chair the meeting.

         The Chairman then reported that the Annual Shareholders’ Meeting resolved that
  the compensation for Board members will be 100 Indexed Units (Unidades de Fomento)
  and 50 Indexed Units for members of the Management Committee, in both cases per
  meeting attended.

        Thereafter, the Chairman proposes to the members that Daniela Bawlitza Vásquez,
  the Company’s attorney, be appointed as Secretary of the Board of Directors.

         RESOLUTION: Following a brief discussion, the Board resolved, based on the
  unanimous agreement of the attendees, to appoint as Secretary the company’s attorney,
  Daniela Bawlitza Vásquez, who accepts this appointment.


  IV.        PURPOSE OF THE MEETING:


         1. Appointment of the third member of the Management Committee.

          The Chairman informed the Board members that because Enjoy S.A.’s market
  capitalization as of December 31, 2019 continues to be higher than 1,500,000 Indexed
  Units, the company must have a Management Committee, pursuant to Article 50 bis of Law
  18.046 on Corporations.

          He went on to state that it is therefore necessary to form the Management
  Committee. Said Committee must be made up of three members. The independent Board
  members who sit on said Committee in their own right are Ana María Orellana Johnson
  [and] Fernando Rioseco Zorn. Furthermore, pursuant to Circular No. 1.956 of the Financial
  Market Commission, the appointment of the third Committee member must be agreed upon
  by the company’s Board of Directors.


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         The Chairman took the floor, proposing to appoint Ignacio Pérez Alarcón as the
  third member of the Management Committee.

  RESOLUTION: Following a brief discussion, the Board resolved, based on the unanimous
  agreement of the attendees, to appoint Ignacio Pérez Alarcón as the third member of the
  Management Committee of Enjoy S.A.


         2. Filing of a voluntary petition under Chapter 15 of Title 11 of the United
            States Code.

          The CEO takes the floor, explaining that Enjoy S.A.’s protection policies under the
  judicial reorganization pursuant to Law No. 20.720 include a voluntary petition in United
  States courts for a case (the “Chapter 15 Petition”) under Chapter 15 of the Bankruptcy
  Code (“United States Bankruptcy Code”). This is the case because, given that Enjoy S.A.
  has placed bonds under Rule 144A and Regulation S of United States securities laws, a
  holder of this bond could potentially seek to sue Enjoy S.A. or one of the guarantors of this
  instrument—namely Baluma S.A.—in the U.S., as that is the applicable jurisdiction with
  respect to the bond, in order to enforce the obligations provided for under such contract.
  The above seeks to have Enjoy S.A.’s Chilean Proceedings recognized in the United States
  (the “Chapter 15 Case”).

         The Board’s Secretary then explains that conversations have been held with two
  United States law firms to start the Chapter 15 Petition and ultimately, as Management, we
  have decided to entrust this work to the firm Gibson Dunn. Board member Fernando
  Rioseco then asks about the costs of this case. The Secretary explains this point, as well as
  the timeframes associated with the case.

         Thus, she remarks, for purposes of beginning this case one of Enjoy S.A.’s current
  representatives must be designated as Enjoy S.A.’s foreign representative in the Chapter 15
  case in the United States. It is therefore best for Enjoy S.A. to appoint Rodrigo Larraín
  Kaplan and Esteban Rigo-Righi Baillie as Enjoy S.A. foreign representatives, each of
  whom is authorized to file a Chapter 15 Petition under Chapter 15 of Title 11 of the United
  States Bankruptcy Code and to commence a Chapter 15 Case under the United States
  Bankruptcy Code for purposes of recognizing Enjoy S.A.’s Chilean Proceedings in the
  United States.

         RESOLUTION: Following a brief discussion, the Board resolved, based on the
  unanimous agreement of the attendees:
  1.- That Rodrigo Larraín Kaplan and Esteban Rigo-Righi Baillie are duly appointed as
  foreign representatives of Enjoy S.A., as such term is defined under Section 101 (24) of the
  United States Bankruptcy Code (each as a “Foreign Representative”) and the Foreign
  Representative is authorized to act as Enjoy S.A.’s representative in the United States,
  including, among other things, for all purposes related to the Chapter 15 Case;




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  2.- Each Foreign Representative is authorized and directed on behalf of Enjoy S.A. to file a
  Chapter 15 Petition for Enjoy S.A. in the United States Bankruptcy Court for the Southern
  District of New York, or in any other court that either of the Foreign Representatives deems
  appropriate in order to commence the Chapter 15 Case.


  V.          RECORD OF THESE MINUTES AS A NOTARIAL INSTRUMENT:

           Based on the unanimous agreement of its members, the Board of Directors resolves
  to empower attorneys Eduardo Sboccia Serrano, Daniela Bawlitza Vásquez, so that
  either of them may act separately and individually to have all or part of these minutes
  recorded as a notarial instrument in order to be able to fully carry out the aforementioned
  resolutions in a timely manner and to undertake all procedures, actions, and steps necessary
  or suitable to formalize the resolutions adopted. Furthermore, the bearer of the authorized
  copy of the notarial instrument in which these minutes are recorded is empowered to
  request from the respective Real Property Registrar and other competent registries any
  entries, cancellations, notations, drafts, sub-entries, and any other procedures as applicable.

         With no further business to discuss, this meeting of the Board of Directors is
  adjourned at 8:00 p.m.




           [signature]                                    [signature]
       Javier Martínez Seguí                        Nicolás Bañados Lyon
              Chairman                                    Board Member



          [signature]                                     [signature]
       Fernando Rioseco Zorn                        Lucas Marulanda López
          Board Member                                    Board Member




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         [signature]                                    [signature]
    Ana María Orellana Johnson                    Ignacio Pérez Alarcón
         Board Member                                   Board Member



          [signature]                                    [signature]
    Ugo Posada Zabala                             Pier-Paolo Zaccarelli Fasce
         Board Member                                   Board Member



          [signature]
    Daniela Bawlitza Vásquez
         Secretary


                                      CERTIFICATION

  Chairman Javier Martínez Seguí and Secretary Daniela Bawlitza Vásquez certify that
  Board members Javier Martínez Seguí, Pier-Paolo Zaccarelli Fasce, Nicolás Bañados Lyon,
  Lucas Marulanda López, Ugo Posada Zabala, Mauricio Salgar Hurtado, Ana María
  Orellana Johnson, Fernando Rioseco Zorn, and Ignacio Pérez Alarcón were, like the CEO
  and the Board’s Secretary, simultaneously and continuously in communication via video
  conference during the entire Board of Directors meeting. They state for the record that the
  Board of Directors expressly authorized attendance in the aforementioned manner. The
  above record is provided pursuant to Article 47 of Law No. 18.046 on Corporations and
  Financial Market Commission Circular No. 1.530 dated March 9, 2001.


                 [signature]                               [signature]
           Javier Martínez Seguí                    Daniela Bawlitza Vásquez
                 Chairman                                   Secretary




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                                          Item 6B

       Certificate From Court Appointed Overseer Approving Appointment of Foreign
                       Representatives and English Translation
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     STATE OF NEW YORK
                                                   )
                                                   )
                                                   )
     COUNTY OF NEW YORK                            )            ss




                                                       CERTIFICATION


     This is to certify that the attached translation is to the best of my knowledge and belief a true and accurate

     translation from Spanish into English of the attached Certification digitally signed by Patricio Ricardo Jamame

     Banduc.

»

                                                                                Edward J. Jaco
                                                                                Divergent Language Solutions, LLC




     State of New York
     County of New York
     Subscribed to and swom before me this             day of           ___ .. 20 20 .
     by Edward J. Jacob.




     Notary Public

           MATTHEW C. ZELAK
     NOTARY PUBLIC, State of New York
             No. 01ZE6350239
       Qualified in New York County
    Commission Expires November 7,2020




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                                        CERTIFICATE


           I hereby, and at the request of Enjoy S.A.’s management, certify the truthfulness of
  the following assertions:


     1. On May 22, 2020, the Board of Directors of Enjoy S.A. appointed as Foreign
           Representative for purposes of commencing a proceeding under Chapter 15 of the
           United States Bankruptcy Code (the “Chapter 15 Case”) and to act as representatives
           of Enjoy S.A in the United States, including, without limitation, for all purposes
           related to the Chapter 15 Case.


     2. Said appointment is within the powers of Enjoy S.A.'s management and is not
           prohibited under Law 20,720, inasmuch as, despite the ongoing Judicial
           Reorganization Proceedings, the Board of Directors retains its management powers
           and representation of Enjoy S.A.




                                                  Digitally
                                                  signed by


                              ___________________________________
                                     Patricio Jamarne Banduc
                                 Enjoy S.A. Insolvency Overseer
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                                         CERTIFICADO


           Por medio del presente, y por solicitud de la administración de Enjoy S.A., certifico
  la veracidad de las siguientes aseveraciones:


     1. Con fecha 22 de mayo de 2020, el Directorio de Enjoy S.A. designó como
           Representante Extranjero, para los efectos de iniciar un procedimiento en virtud del
           Capítulo 15 del Código de Quiebras de los Estados Unidos (el "Procedimiento del
           Capítulo 15") y de actuar como representantes de Enjoy S.A. en los Estados Unidos,
           incluyendo, sin limitación, a todos los efectos relacionados con el Procedimiento del
           Capítulo 15.


     2. Dicha designación se encuentra contenida dentro de las facultades de la
           administración de Enjoy S.A. y no se encuentra prohibida por la Ley 20,720, toda vez
           que, no obstante la substanciación del Procedimiento de Reorganización Judicial
           actual, el Directorio mantiene sus facultades de administración y representación de
           Enjoy S.A.




                             ___________________________________
                                     Patricio Jamarne Banduc
                                  Veedor Concursal Enjoy S.A.
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                                          Item 6C

            Order Acknowledging Overseer Approval of Appointment of Foreign
                     Representatives and English Translation
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                   DIVERGENT
                   LANGUAGE               SOLUTIONS




  STATE OF NEW YORK



  COUNTY OF NEW YORK                                      ss




                                                     CERTIFICATION


   This is to certify that the attached translation is to the best of my knowledge and belief a true and accurate

   translation from Spanish into English of the attached Notice of Order dated June 12, 2020.




                                                                             Divergent Language Solutions, LLC




   State of New York
   County of New York
   Subscribed to and swom before me this           day of J LuA€x          20>ö ,
   by Edward J. Jacob.




  Notary Public


       MATTHEW C ZELAK
 NOTARY PUBLIC, Stet® of New York
         No. 01ZE6350239
   Quaüfied in New York County
Kommission Expires November 7,2020




                183 Madison Avenue, Suite 416 | New York, NY 10016 | p 917.979.4513 | f 415.525.4313
              600 California Street, 1 lth Floor | San Francisco, CA 94108 | p 415.400.4538 | f 415.525.4313
                                   divergent@divergentls.com | www.divergentls.com
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           DESCRIPTION                   : 1. [4722]Let it be certified
           COURT                         : Santiago Civil Court 8
           CASE DOCKET                   : C-6689-2020
           CASE CAPTIONED                : /ENJOY S.A.


                  Santiago, June 12, 2020.

                  Recorded via Virtual Judicial Office (OJV) on 6/10/2020 (page 97):
                  Let it be certified as applicable.

                  Recorded via OJV on 6/10/2020 (page 98):
                  Per attached publication, with notice.

                  Recorded via OJV on 6/12/2020 (page 99):
                  With respect to the primary request: Let it be certified as applicable.
                  With respect to the exhibit: Per the attached, with notice.



                   In Santiago, on June 12, 2020, service of the foregoing order was carried out via
           the daily list of court decisions.




                                                                                                                                   VLXKPYCJYG




                                                                                   This document contains an electronic signature and its original
                                                                                   may be confirmed at http://verificadoc.pjud.cl or in the record
                                                                                   of the case.
                                                                                   As of April 5, 2020, the time shown corresponds to the winter
SYLVIA JOSEFINA PAPA BELETTI                                                       season established in Continental Chile. Add one hour for the
                                                                                   Magallanes and the Chilean Antarctic Regions, and for Insular
Date: 6/12/2020 1:57:10 PM                                                         Chile, Easter Island, and Salas y Gómez islands subtract two
                                                                                   hours. For more information go to http://www.horaoficial.cl
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  NOMENCLATURA             : 1. [4722]Certifíquese
  JUZGADO                  : 8º Juzgado Civil de Santiago
  CAUSA ROL                : C-6689-2020
  CARATULADO               : /ENJOY S.A.


       Santiago, doce de Junio de dos mil veinte.

       Al escrito por OJV de 10/06/20 (folio 97):
       Certifíquese lo que corresponda.

       Al escrito por OJV de 10/06/20 (folio 98):
       Por acompañada publicación, con citación.

       Al escrito por OJV de 12/06/20 (folio 99):
       A lo principal: Certifíquese lo que corresponda.
       Al otrosí: Por acompañado, con citación.



        En Santiago, a doce de Junio de dos mil veinte, se notificó por el
  estado diario, la resolución precedente.




                                                                                                                 VLXKPYCJYG




                                                                Este documento tiene firma electrónica y su original puede ser
                                                                validado en http://verificadoc.pjud.cl o en la tramitación de la
                                                                causa.
                                                                A contar del 05 de abril de 2020, la hora visualizada
                                                                corresponde al horario de invierno establecido en Chile
                                                                Continental. Para la Región de Magallanes y la Antártica
                                                                Chilena sumar una hora, mientras que para Chile Insular
                                                                Occidental, Isla de Pascua e Isla Salas y Gómez restar dos
                                                                horas. Para más información consulte http://www.horaoficial.cl
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                  DIVERGENT
                  LANGUAGE SOLUTIONS




 STATE OF NEW YORK
                                                )
                                                )
                                                )
 COUNTY OF NEW YORK                             )        ss




                                                    CERTIFICATION


 This is to certify that the attached translation is to the best of my knowledge and belief a true and accurate

 translation frorn Spanish into English of the attached Certificate dated June 12, 2020.




                                                                            Divergent Language Solutions, LLC




 State of New York
 County of New York
 Subscribed to and swom before me this              day of Jl(nZ_____ , 202-Ö ,

 by Edward J. Jacob.




 Notary Public

       MATTHEW C. ZELAK
 NOTARY PUBLIC, State of New York
         No. 01ZE6350239
   Qualifled in New York County
Commission Expires November 7,2020




               183 Madison Avenue, Suite 416 | New York, NY 10016 | p 917.979.4513 | f 415.525.4313
             600 California Street, 11* Floor | San Francisco, CA 94108 | p 415.400.4538 | f 415.525.4313
                                  divergent@divergentls.com | www.divergentls.com
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  DESCRIPTION                  : 1. [380]Certificate.
  COURT                        : Santiago Civil Court 8
  CASE DOCKET                  : C-6689-2020
  CASE CAPTIONED               : /ENJOY S.A.


         Santiago, June 12, 2020.

         I CERTIFY: That pursuant to the contents of the order dated June 12, 2020 with
  respect to the document at page 99 dated June 12, 2020, submitted by the Insolvency
  Overseer Patricio Jamarne Cristián Gandarillas Serani and Attorney Nelson Contandor
  Rosales on behalf of the petitioner Enjoy S.A., I am able to state as follows:

          1. It is true that on May 5, 2020, a reorganization order for Enjoy S.A. was issued,
  which granted a financial insolvency protection period of 30 business days, appointing
  Patricio Jamarne Banduc as head overseer.

         2. It is true that Article 25 (7) of Law 20.720 sets forth the overseer’s duty to seek
  any provisional and preservation remedies for the petitioning Debtor’s assets that are
  necessary to protect the interests of the creditors.

          The language of the aforementioned provision and paragraph number states:
  Article 25.- Duties of the Overseer. The primary duty of the Overseer is to foster the
  agreements between the Debtor and its creditors, thereby facilitating the proposal and
  negotiation of the Agreement. For such purposes, the Overseer may summon the Debtor
  and its creditors at any time from the publication of the Reorganization Order to the date
  on which he must provide the competent court with the report stipulated under Article 57
  (8), for purposes of facilitating the agreements between the parties and fostering the
  signing of a Judicial Reorganization Agreement pursuant to the terms provided for
  hereunder.
          In exercising his duties, [the overseer] must specifically:
          7) Seek any provisional and preservation remedies for the Debtor’s assets that are
  necessary to protect the interests of the creditors, notwithstanding any agreements that
  the latter may enter into.

          3.- It is true that on June 12, 2020, documents were provided to the case record, and
  stated to be for purposes of requesting commencement of the Recognition of these
  Proceedings in the United States under the Cross-Border Insolvency rules, and to ensure
  that the full scope of the Financial Insolvency Protection is applied in the United States to
  prohibit enforcement of the guarantees provided by subsidiaries of Enjoy S.A., and such
                                                                                                       EHRPPYDYBX




  documents indicate that the overseer signed two certificates with respect to:
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                        i.- The authorization to appoint a representative to act on behalf of Enjoy S.A. in
                order to commence proceedings under Chapter 15 of the United States Bankruptcy Code, in
                said country; and that such appointment does not modify the management and
                representation powers of Enjoy S.A.
                        ii.- A certificate informing of the asset-related documents that were forwarded to the
                overseer and facts in the case with respect to the issuance of the reorganization order,
                financial insolvency protection, restriction on new proceedings and enforcement of
                obligations and guarantees against the debtor, and a stay of proceedings already in progress,
                as well as maintaining the validity and conditions of agreements.



                                     Leonardo Wlodawsky Malschafsky, Acting Clerk.




                                                                                                                                       EHRPPYDYBX




                                                                                       This document contains an electronic signature and its original
                                                                                       may be confirmed at http://verificadoc.pjud.cl or in the record
                                                                                       of the case.
                                                                                       As of April 5, 2020, the time shown corresponds to the winter
LEONARDO WLODAWSKY                                                                     season established in Continental Chile. Add one hour for the
                                                                                       Magallanes and the Chilean Antarctic Regions, and for Insular
MALSCHAFSKY                                                                            Chile, Easter Island, and Salas y Gómez islands subtract two
Date: 6/12/2020 2:02:37 PM                                                             hours. For more information go to http://www.horaoficial.cl
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  NOMENCLATURA             : 1. [380]Certificado.
  JUZGADO                  : 8º Juzgado Civil de Santiago
  CAUSA ROL                : C-6689-2020
  CARATULADO               : /ENJOY S.A.


        Santiago, doce de Junio de dos mil veinte.

         CERTIFICO: Que acorde lo ordenado por resolución de fecha 12 de
  junio de 2020 respecto del escrito del folio 99 de fecha 12 de junio de 2020,
  presentado por el veedor concursal Patricio JamarneCristián Gandarillas
  Serani y el apoderado Nelson Contandor Rosales en representación de la
  solicitante Enjoy S.A. puedo señalar lo siguiente:

        1. Que es efectico que con fecha 5 de mayo de 2020 se dictó la
  resolución de reorganización de Enjoy S.A., la cual otorgó un período de
  protección financiera concursal por un un plazo de 30 días hábiles, designando
  como veedor titular a Patricio Jamarne Banduc.

         2. Que es efectivo que el artículo 25 Nº 7 de la Ley 20.720 establece el
  deber del veedor de de impetrar las medidas precautorias y de conservación de
  los activos del Deudor solicitante, que sean necesarias para resguardar los
  intereses de los acreedores.
         El texto de la norma y numeral en comento señala: Artículo 25.-
  Deberes del Veedor. La función principal del Veedor es propiciar los
  acuerdos entre el Deudor y sus acreedores, facilitando la proposición y
  negociación del Acuerdo. Para estos efectos, el Veedor podrá citar al
  Deudor y a sus acreedores en cualquier momento desde la publicación de la
  Resolución de Reorganización hasta la fecha en que debe acompañar al
  tribunal competente el informe que regula el numeral 8) del artículo 57, con
  el propósito de facilitar los acuerdos entre las partes y propiciar la
  celebración de un Acuerdo de Reorganización Judicial en los términos
  regulados en la presente ley.
         En el ejercicio de sus funciones deberá especialmente:…
         7) Impetrar las medidas precautorias y de conservación de los activos
  del Deudor que sean necesarias para resguardar los intereses de los
  acreedores, sin perjuicio de los acuerdos que éstos puedan adoptar.

          3.- Que es efectivo que se tuvo por acompañado en autos, con fecha 12
  de junio de 2020, documentos anunciados para los efectos solicitar el inicio
  del Reconocimiento de Procedimiento de autos en Estados Unidos, bajo las
  normas de Insolvencia Transfronteriza, y para asegurar que se aplique en los
                                                                                         EHRPPYDYBX




  Estados Unidos todo el alcance de la Protección contra la Insolvencia
  Financiera, a fin de prohibir la ejecución de las garantías ofrecidas por las
  filiales de Enjoy S.A. y que que dan cuenta de que el veedor suscribió dos
  certificados respecto de:
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         i.- La autorizacion en la designación de un apoderado para actuar en
  representación de Enjoy S.A. a fin de de iniciar un procedimiento en virtud del
  Capítulo 15 del Código de Quiebras de los Estados Unidos, en dicho país; y
  que aquella designación no modifica las facultades de administración y
  representación de Enjoy S.A.
         ii.- Una certificación que informa de documentos de activos que se
  hicieron llegar al veedor y de hechos del proceso respecto a la dictación de la
  resolución de reorganización, protección financiera concursal, limitación de
  nuevos procesos y ejecuciones de obligaciones y garantías en contra de la
  deudora y suspensión de procesos ya iniciados, así como mantención de la
  vigencia y condiciones de contratos.



        Leonardo Wlodawsky Malschafsky, Secretario Subrogante.




                                                                                                                 EHRPPYDYBX




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                                                                validado en http://verificadoc.pjud.cl o en la tramitación de la
                                                                causa.
                                                                A contar del 05 de abril de 2020, la hora visualizada
                                                                corresponde al horario de invierno establecido en Chile
                                                                Continental. Para la Región de Magallanes y la Antártica
                                                                Chilena sumar una hora, mientras que para Chile Insular
                                                                Occidental, Isla de Pascua e Isla Salas y Gómez restar dos
                                                                horas. Para más información consulte http://www.horaoficial.cl
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           Disclosure Pursuant Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure
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GIBSON, DUNN & CRUTCHER LLP
Keith R. Martorana
Alan Moskowitz
Dylan S. Cassidy
200 Park Avenue
New York, NY 10166
(212) 351-4000 (Tel)
(212) 351-4035 (Fax)

Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                               Chapter 15

 ENJOY S.A. 1                                                         Case No. 20-______ (__)
                   Debtor in a Foreign Proceeding.



            DISCLOSURE PURSUANT TO RULE 1007(A)(4) OF THE FEDERAL
                     RULES OF BANKRUPTCY PROCEDURE

          Rodrigo C. Larrain and Esteban Rigo-Righi, in their capacity as duly authorized foreign

representatives (each, a “Foreign Representative”) of Enjoy S.A., as a debtor in a foreign

proceeding (the “Foreign Debtor”) in connection with its reorganization proceeding under Chilean

law (the “Foreign Proceeding”) pending in the 8° Civil Court of Santiago in Santiago, Chile (the

“Chilean Court”) hereby file this list pursuant to Rule 1007(a)(4) of the Federal Rules of

Bankruptcy Procedure and respectfully set forth as follows:




 1
     The Foreign Debtor’s Chilean tax identification number is 96.970.380-7. The location of the Foreign Debtor’s
     executive office is Av. Presidente Riesco 5711, 15th Floor, Borough of Las Condes, Santiago, Chile, Postal Code
     7561114.
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  I.      All Persons or Bodies Authorized to Administer the Foreign Proceeding

                           Name                                            Address

       Rodrigo C. Larrain, as Foreign Representative Av. Presidente Riesco 5711, 15th Floor,
                                                     Santiago, Chile, Postal Code 7561114
       Esteban Rigo-Righi, as Foreign Representative Av. Presidente Riesco 5711, 15th Floor,
                                                     Santiago, Chile, Postal Code 7561114
       Sylvia Papa Beletti, as Head Judge            Huérfanos N° 1409, Santiago.
       Patricio Ricardo Jamarne Banduc, as Overseer  Avenida Apoquindo 4.775 17th Floor,
                                                     Santiago, Chile
       Marco Antonio Ortiz D’amico as Alternate Amunategui Nº 277, office 1.001, Santiago,
       Overseer                                      Chile

 II.      All Parties to Litigation Pending in the United States in which the Foreign Debtor is a
          Party at the Time of Filing of the Petition

              1.     Neither Foreign Representative nor the Foreign Debtor is party to any pending

    litigation in the United States as of the date hereof.

III.      Entities Against Whom Provisional Relief is Sought Pursuant to 11 U.S.C. § 1519

              2.     The Foreign Representatives are not seeking provisional relief.




                                                       2
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 Dated:    New York, New York
           June 12, 2020

                                        Respectfully submitted,
                                        GIBSON, DUNN & CRUTCHER LLP

                                        /s/ Keith R. Martorana
                                        Keith R. Martorana
                                        Alan Moskowitz
                                        Dylan S. Cassidy
                                        200 Park Avenue
                                        New York, NY 10166
                                        (212) 351-4000 (Tel)
                                        (212) 351-4035 (Fax)

                                        Counsel to the Foreign Representatives




                                           3
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                                          Item 11

                              Corporate Ownership Statement
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GIBSON, DUNN & CRUTCHER LLP
Keith R. Martorana
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New York, NY 10166
(212) 351-4000 (Tel)
(212) 351-4035 (Fax)

Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                               Chapter 15

 ENJOY S.A. 1                                                         Case No. 20-______ (__)
                   Debtor in a Foreign Proceeding.



                           CORPORATE OWNERSHIP STATEMENT
                        PURSUANT TO BANKRUPTCY RULES 1007(A)(4)
                            AND 7007.1 AND LOCAL RULE 1007-3

          Rodrigo C. Larrain and Esteban Rigo-Righi, in their capacity as duly authorized foreign

representatives (each a “Foreign Representative”) of Enjoy S.A., as a debtor in a foreign

proceeding (the “Foreign Debtor”) in connection with its foreign proceeding pending in in

connection with its reorganization proceeding under Chilean law (the “Foreign Proceeding”)

pending in the 8° Civil Court of Santiago in Santiago, Chile, hereby file the corporate ownership

information required by Rules 1007(a)(4) and 7007.1 of the Federal Rules of Bankruptcy

Procedure and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York.




 1
     The Foreign Debtor’s Chilean tax identification number is 96.970.380-7. The location of the Foreign Debtor’s
     executive office is Av. Presidente Riesco 5711, 15th Floor, Borough of Las Condes, Santiago, Chile, Postal Code
     7561114.
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       1.     As of the date of this filing, each of (i) Entretenciones Consolidadas SPA, (ii)

Inversiones e Inmobiliaria Almonacid Ltda., (iii) BTG Pactual Small Cap Chile Fondo De

Inversion, and (iv) Advent Latin America Private Equity Fund VI LP, owns, directly or indirectly,

10% or more of the equity interests of the Foreign Debtor.




                                               2
